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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA

Case No. 07~20593-D-13L
Docket Control No. NLE-l

In re

CHAREL WINSTON,

Debtor. DATE: May 29, 2007

TIME: 11:30 a.m.

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MEMORANDUM DECISION ON DEBTOR'S
REQUEST FOR WAIvER AND MoTIoN To DIsMIss
I. BACKGROUND

On January 30, 2007 Charel Winston (the “debtor”) initiated
the above Chapter 13 case. With her petition the debtor filed
Exhibit D - lndividual Statement of Compliance with Credit
Counseling Requirement ("Exhibit D"). The debtor checked the box
indicating that she received pre-petition credit counseling, from
an agency approved by the United States Trustee (the "UST"), within
180 days before the filing of the case. Exhibit D requires the
debtor to attach a copy of the certificate of credit counseling.
The debtor failed to attach a certificate of credit counseling, but
rather, attached a Certificate of Debtor Education (the "CDE").l

The CDE indicates that on January 23, 2007 the debtor completed a

 

l Exhibit D also contains a specific box to check if a
debtor asserts they are exempt from the pre-petition credit
counsel requirement because of incapacity, disability, or
active military duty pursuant to section lO9(h)(4) of the
Bankruptcy Code. The debtor did not check this box.

 

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course on personal financial management given through the internet
by A Better Financial Education, Inc.

On January 30, 2007, Lawrence J. Loheit (the "Trustee") was
appointed the Chapter l3~Trustee. On March 8, 2007 the Trustee
filed a Motion to Dismiss (the "Motion to Dismiss") the debtor's
case. The Motion to Dismiss is based, in part, on the Trustee's
assertion that the debtor is not eligible for bankruptcy relief
because she failed to obtain pre-petition credit counseling, as
required by section lOS(h) of the Bankruptcy Code (the "Code").

On March 23, 2007 the debtor filed opposition to the Motion to
Dismiss (the "Opposition"). The Opposition is based, in part, on
the debtor's contention that she is disabled, and as a result of
her disability the pre-petition credit counseling requirement does
not apply to her. The Opposition was not served on the UST, nor
did the debtor affirmatively request that the court determine she
is exempt from pre-petition credit counseling under section
lO9(h)(4) of the Code.

On April l7, 2007, the debtor submitted to chambers a manilla
envelope marked "Enclosed Record is Subject to Application to File
the Records Under Seal." The envelope contained a pleading
entitled "Petitioner's Declaration in Support of Her Opposition to
Trustee's Motion to Dismiss." Attached to this declaration are
three letters from doctors (two of which are unsigned), a statement
of general instructions and a copy of a declaration filed in a

State Court proceeding (the "Medical Records").2 The Medical

 

2 The court has granted the debtor's request to have the
Medical Records filed under seal.

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Records were filed to support the debtor's contention that she is
disabled and exempt from the pre-petition credit counseling
requirement. The court has reviewed the Medical Records.
Notwithstanding the evidentiary defects and for the purpose of this
Memorandum only, the court will consider the Medical Records.3

On April 27, 2007: the court issued an order setting a hearing
on the debtor's request to have the credit counseling requirement
waived pursuant to section 109(h)(4) of the Code (the "Request for
Waiver"). The order allowed the debtor to supplement the record no
later than May 11, 2007 and provided for opposition to the Request
for Waiver to be filed no later than May 2l, 2007, The court held
a hearing on the Request for Waiver on May 29, 2007, and the matter

was taken under submission.

II. ANALYSIS
A. Jurisdicti©n
This court has jurisdiction over the Request for Waiver
pursuant to 28 U.S.C. sections 1334 and 157(b)(1). The Request for
Waiver is a core proceeding under 28 U.S.C. section 157 (b)(2)(A).

B. Leqal Standard for Waiving the Pre-Petition Credit Counseling
Requirement

Section 109(h) of the Code provides in part as follows:

"(1) Subject to paragraphs (2) and (3), and
notwithstanding any other provisions of this section, an ,
individual may not be a debtor under this title unless
such individual has, during the 180-day period preceding
the date of filing of the petition by such individual,

 

3 The debtor has failed to lay a sufficient evidentiary
foundation for the Medical Records. Two of the letters
from doctors are not signed, and the Medical Records are
hearsay statements.

 

 

 

 

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received from an approved nonprofit budget and credit
counseling agency described in section 111(a) an
individual or group briefing (including a briefing
conducted by telephone or on the Internet) that outlined
the opportunities for available credit counseling and
assisted such individual in performing a related budget
analysis."

"(4) The requirements of paragraph (1) shall not
apply with respect to a debtor whom the court determines,
after notice and hearing, is unable to complete those
requirements because of incapacity, disability, or active
military duty in a military combat zone. For the
purposes of this paragraph, incapacity means that the
debtor is impaired by reason of mental illness or mental
deficiency so that he is incapable of realizing and
making rational decisions with respect to his financial
responsibilities; and 'disability' means that the debtor
is so physically impaired as to be unable, after
reasonable effort, to participate in an in person,
telephone, or Internet briefing required under paragraph

(1) .\l
Federal Rule of Bankruptcy Procedure 1007(b)(3) provides:

Unless the United States Trustee has determined
that the credit counseling requirement of §
109(h) does not apply in the district, an
individual debtor must file a statement of
compliance with the credit counseling
requirement, prepared as prescribed by the
appropriate Official Form which must include
one of the following:

(A) an attached certificate and debt
repayment plan, if any required by §

521 (b);

(B) a statement that the debtor has
received the credit counseling briefing
required by § 109(h)(1) but does not have
the certificate required by § 521(b);

(C) a certification under § 109(h)(3); or
(D) a request for a determination by the
court under § 109(h)(4).

The certificate of creditor counseling and/or other documents
required under paragraphs (A), (C), and (D) of Fed.R.Bankr.P.

1007(b)(3) shall be filed With the petition. General Order 06-04

(E.D. Cal., September 28, 2006).

 

 

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B. Discussion

Fed.R.Bankr.P § 1007(b)(3)(d) requires a debtor asserting that
they are exempt from the credit counseling requirement, to
affirmatively request that the court make such a determination.
This request is to be made at the time the petition is filed, and
the request is to be made by way of a noticed hearing (11 U.S.C. §
109(h)(4)). The debtor has never requested that the court make
this determination. Rather, the debtor raised the issue for the
first time in her opposition to the Motion to Dismiss. The court
then, on its own, set a hearing on the Request for Waiver.

A disability exemption under section 109(h)(4) requires a
three-prong analysis. First, the court must decide whether the
debtor is disabled, Second, the court must determine whether the
debtor has made a reasonable effort, despite the impairment, to
participate in pre-petition credit counseling. Third, the court
must determine whether the debtor is unable, because of the
disability, to meaningfully participate in an in-person, telephone,
or internet pre-petition briefing. ln re Tulper, 345 B.R. 322
(Dist. Col. 2006).

For the purpose of this Memorandum the court will accept the
debtor's assertion that she is disabled. However, the analysis
does not stop there. The debtor does not argue, nor has the debtor
submitted any evidence to establish, that she made a reasonable
effort to participate in pre-petition credit counseling. Further,
the debtor does not argue, nor has the debtor submitted any
evidence to establish, that her disability renders her unable to

participate in an in-person, telephone, or internet briefing.

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On the contrary, the debtor has represented herself throughout
this case, has filed numerous pleadings which are coherent and
articulate, and has appeared before the court. The debtor has
personally appeared at court hearings on at least three occasions
and personally attended her Meeting of Creditors on March 1, 2007
(Docket Entry No. 19). The record also demonstrates that the
debtor is quite capable of using the internet and telephone, To
underscore the foregoing, the court notes that the debtor has
requested to appear at court hearings telephonically and has
appeared at hearings telephonically on numerous occasions.4 The
debtor's ability to use the internet is evidenced by her completion
of a course on personal financial management through the internet.
The court notes that the procedure for taking a pre-petition credit
counseling course through the internet is very similar to the
procedure for taking an internet course on personal financial
management. The fact that the debtor completed the course on
personal financial management through the internet makes it clear
that she could have obtained pre-petition credit counseling through
the internet.

When the debtor filed her case, she checked the box on Exhibit
D indicting she had completed the course on credit counseling and
then attached the CDE. The debtor never requested that the court
determine she is exempt from the credit counsel requirement, but

raised it for the first time in her opposition to the Motion to

 

4 As a result of the debtor's asserted disability, she has
requested that she be excused from having to go through the
normal court procedures for telephone appearances. The
court granted this request and allows the debtor
to appear at hearings telephonically without incurring the
cost of going through Court Conference.

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Dismiss. This convincingly suggests that the debtor made a mistake
and took the course on personal financial management as required by
section 1328(g)(1) of the Code instead of the course on credit
counseling required under section 109(h). Such a mistake is not a
basis for permanent waiver of the credit counsel requirement under
section 109(h)(4).

It is the debtor's burden to demonstrate that she has made a
reasonable effort, despite her disability, to participate in pre-
petition credit counseling, and that her disability renders her
unable to meaningfully participate in a telephone or internet
briefing. The debtor has submitted no evidence in either regard.
The court finds that the debtor certainly could have obtained
credit counseling over the telephone or internet.

Accordingly, the court finds that the debtor is not exempt
from the credit counseling requirement under section 109(h)(4) of
the Code and that*she was required to obtain pre-petition creditr
counseling. The debtor did not obtain pre-petition credit
counseling; and accordingly, she is not eligible for bankruptcy
relief. Therefore, the Motion to Dismiss will be granted.

A separate order will be entered consistent with this

memorandum decision.

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1 §obert S. Bardwil
United States Bankruptcy Judge

 

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA

CERTIFICATE OF MAILING

The undersigned deputy clerk in the office of the United
States Bankruptcy Court for the Eastern District of California
hereby certifies that a copy of the document to which this
certificate is attached was mailed today to the following
entities listed at the address shown on the attached list or
shown below.

Charel Winston Lawrence J. Loheit Office of the U.S. Trustee
2000 Arroyo Vista Way PO Box 1858 501 l St #7-500
E| Dorado Hi||s, CA 95762 Sacramento, CA 95812-1858 Sacramento CA 95814
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DATED: 6@@7 By: -/’/

 

Deputy Clerk

EDC 3-070 (New 4/21/00)

 

